               Case 5:23-cv-00476-G Document 22 Filed 12/18/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

    MATTHEW COLWELL,

           Plaintiff,

          v.

    RYAN WALTERS, in his official
    capacity as Superintendent of Public
    Instruction and in his individual
    capacity,
                                                             Civil Action No. 5:23-00476-G
          and

    MATT LANGSTON, in his official
    capacity as Chief Policy Advisor,
    Administrative Services, and in his
    individual capacity,

          Defendants.


                                ENTRY OF APPEARANCE

To the Clerk of this court and all parties of record:

         Enter my appearance as counsel in this case for:

         Defendant, Ryan Walters, in his individual capacity.1

         I certify that I am admitted to practice in this Court and am registered to file

documents electronically with this Court.




1
    Separate counsel represents Defendant Walters in his official capacity.
ENTRY OF APPEARANCE                                                                  Page 1
          Case 5:23-cv-00476-G Document 22 Filed 12/18/23 Page 2 of 2




                                          Respectfully submitted,


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                                          COUNSEL FOR DEFENDANT RYAN
                                          WALTERS, in his Individual Capacity



                             CERTIFICATE OF SERVICE

       I hereby certify that on December 18, 2023, I electronically transmitted the attached
document to the Clerk of Court using the Electronic Case Filing System for filing. Based
on the records currently on file in this case, the Clerk of Court will transmit a Notice of
Electronic Filing to those registered participants of the ECF System.

                                                 /s/ Alexandra M. Williams
                                                 JACKSON WALKER LLP



ENTRY OF APPEARANCE                                                                   Page 2
